       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 1 of 35



 1   THOMAS R. BURKE (State Bar No. 141930)
       thomasburke@dwt.com
 2   DAVIS WRIGHT TREMAINE LLP
     505 Montgomery Street, Suite 800
 3   San Francisco, California 94111-6533
     Telephone:(415) 276-6500
 4   Facsimile:(415) 276-6599

 5   SELINA MACLAREN (State Bar No. 300001)
       selinamaclaren@dwt.com
 6   ABIGAIL ZEITLIN (State Bar No. 311711)
       abigailzeitlin@dwt.com
 7   DAVIS WRIGHT TREMAINE LLP
     865 South Figueroa Street, 24th Floor
 8   Los Angeles, California 90017-2566
     Telephone: (213) 633-6800
 9   Fax: (213) 633-6899

10   Attorneys for Defendant
     SCIENCE FEEDBACK
11   (erroneously sued as “Science Feedback
     and Climate Feedback”)
12

13                              IN THE UNITED STATES DISTRICT COURT

14                          THE NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN JOSE DIVISION

16   JOHN STOSSEL, an individual,                   Case No. 5:21-cv-07385

17                 Plaintiff,                       Assigned to the Hon. Virginia K. DeMarchi

18          v.                                      DEFENDANT SCIENCE FEEDBACK’S
                                                    NOTICE OF MOTION AND (1) MOTION
19   FACEBOOK, INC., a Delaware corporation;        TO DISMISS COMPLAINT PURSUANT
     SCIENCE FEEDBACK, a French non-profit          TO FED. R. CIV. P. 12(B)(6), AND (2)
20   organization; and CLIMATE FEEDBACK, a          MOTION TO STRIKE COMPLAINT
     French non-profit organization,                PURSUANT TO CALIFORNIA’S ANTI-
21                                                  SLAPP STATUTE, CODE CIV. PROC.
                   Defendants.                      § 425.16; MEMORANDUM OF POINTS
22                                                  AND AUTHORITIES IN SUPPORT
                                                    THEREOF
23
                                                    [Supporting Declaration and Exhibits Thereto,
24                                                  and Request for Judicial Notice Filed
                                                    Concurrently]
25
                                                    Date:   April 12, 2022
26                                                  Time: 10:00 AM
                                                    Courtroom: 2
27
                                                    Action Filed: September 22, 2021
28


     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
         Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 2 of 35



 1                                NOTICE OF MOTION AND MOTION

 2           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3           PLEASE TAKE NOTICE that on April 12, 2022 at 10:00 am in the courtroom of Judge

 4   Virginia K. DeMarchi of the above-entitled United States District Court, located at San Jose

 5   Courthouse, Courtroom 2 – 5th Floor, Defendant Science Feedback1 will move this Court for an

 6   order striking the claims asserted against Science Feedback pursuant to California’s anti-SLAPP

 7   statute, section 425.16 et seq. of the California Code of Civil Procedure, and Federal Rule of

 8   Civil Procedure 12(b)(6) (the “Motion”), and for an order granting Science Feedback its

 9   attorneys’ fees2 pursuant to California Code of Civil Procedure section 425.16(c).

10           As set forth in more detail in the attached memorandum of points and authorities, the

11   Court should strike the Complaint in its entirety under California’s anti-SLAPP statute,

12   California Civil Code § 425.16. Plaintiff’s claim against Science Feedback is subject to

13   dismissal under California Code of Civil Procedure Section 425.16(e)(3) and (e)(4).

14   Memorandum (“Mem”) Section IV.A. Plaintiff’s claim indisputably arises from Science

15   Feedback’s “writing made in a place open to the public or a public forum in connection with an

16   issue of public interest,” and its conduct “in furtherance of the exercise of . . . the constitutional

17   right of free speech in connection with a public issue or an issue of public interest.” Cal. Civ.

18   Code § 425.16(e)(3)-(e)(4). Websites accessible to the public are “public forums” for the

19   purposes of the anti-SLAPP statute, and statements regarding climate change involve an issue of

20   public interest. See Mem. Section IV.A. Because the anti-SLAPP statute applies to the allegedly

21   defamatory statements, Plaintiff must establish a probability that he will prevail as to each claim

22   or the claim will be stricken. Cal. Civ. Code § 425.16(b)(1). Because Science Feedback

23   challenges the legal sufficiency of Plaintiff’s claims, Plaintiff must show he has alleged

24   sufficient facts to raise a right to relief above the speculative level. See Planned Parenthood

25

26

27
     1
       Plaintiff has erroneously sued Science Feedback as “Science Feedback and Climate Feedback.”
     Climate Feedback is not a separate legal entity, but rather a website run by Science Feedback.
     2
28     Science Feedback will file separately, a motion for fees and costs after its Motion is granted.

                                                        1
     NOTICE OF MOTION
     Case No. 5:21-cv-07385
        Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 3 of 35



 1   Fed’n of Am., Inc. v. Cntr. For Med. Progress, 890 F.3d 828, 834 (9th Cir. 2018); Ashcroft v.

 2   Iqbal, 556 U.S. 662, 668 (2009). Plaintiff cannot meet his burden for the following reasons:

 3          1.      The Complaint identifies only nonactionable statements by Science Feedback.

 4   First, the statements—such as calling a video “misleading” or “missing context”—are not

 5   capable of a defamatory meaning. Second, the statements concerning the veracity or credibility

 6   of claims made in Plaintiff’s videos are informed statements of scientific views based on

 7   disclosed facts, and therefore constitutionally-protected speech. Finally, when it published the

 8   challenged statements, Science Feedback disclosed the truthful scientific facts and literature it

 9   relied on, and Plaintiff does not and cannot allege that these facts are materially false. Thus, the

10   “gist” and “sting” of the articles—i.e., that Plaintiff’s videos feature misleading claims—are true.

11   Mem. Section IV.B.1.

12          2.      Plaintiff’s claim also arises from statements that are nonactionable because they

13   are not “of and concerning” him. To the contrary, the statements Plaintiff identifies critique

14   claims made by entirely different people—namely, subjects Plaintiff interviewed in his videos.

15   Mem. Section IV.B.2.

16          3.      Plaintiff also fails to allege defamation per se. As a result, he must plead that he

17   suffered special damages with particularity, which he does not. Cal. Civ. Code § 45a, 48a. Mem.

18   Section IV.B.3.

19          4.      Plaintiff’s claim is independently barred by California’s correction statute, which

20   limits a plaintiff’s recovery to special damages where, as here, the plaintiff did not make a timely

21   correction demand to Science Feedback. Plaintiff has not pled special damages, nor can he. Cal.

22   Civ. Code § 48a. Mem. Section IV.B.4.

23          5.      The defamation claim also fails because, as Plaintiff concedes, he is a public

24   figure. Even accepting all of Plaintiff’s facts as true, the Complaint nevertheless fails to

25   sufficiently plead any facts that Science Feedback published the challenged statements with

26   actual malice—i.e., with knowledge that the statements were false or published with reckless

27   disregard as to whether they were true—much less facts that could satisfy the “clear and

28

                                                       2
     NOTICE OF MOTION
     Case No. 5:21-cv-07385
        Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 4 of 35



 1   convincing” standard applicable, as a matter of law, to defamation actions brought by public

 2   figures. Mem. Section IV.B.5.

 3          Accordingly, this Court should grant Science Feedback’s motion and dismiss Plaintiff’s

 4   claims, with prejudice, pursuant to Federal Rule of Civil Procedure 12(b)(6) and California Code

 5   of Civil Procedure § 425.16 (b)(1). Science Feedback also requests that it be awarded its

 6   attorney’s fees and costs incurred in defending this meritless lawsuit, pursuant to Cal. Civ. Proc.

 7   Code § 425.16(c), in an amount to be determined by subsequent motion.

 8          This Motion is based on this Notice of Motion, the Memorandum of Points and

 9   Authorities, the concurrently-filed Request for Judicial Notice and Declaration of Thomas R.

10   Burke (“Burke Decl.”) with Exhibits 1-10, any other matters of which this Court may take

11   judicial notice; all pleadings, files, and records in this action; and such other argument as this

12   Court may receive at the hearing on this Motion.

13   DATED: January 31, 2022                               DAVIS WRIGHT TREMAINE LLP
                                                           THOMAS R. BURKE
14                                                         SELINA MACLAREN
                                                           ABIGAIL ZEITLIN
15

16
                                                           By: /s/ Thomas R. Burke
17                                                             Thomas R. Burke
18                                                         Attorneys for Defendant
                                                           SCIENCE FEEDBACK (erroneously sued as
19                                                         “Science Feedback and Climate Feedback”)
20

21

22

23

24

25

26

27

28

                                                       3
     NOTICE OF MOTION
     Case No. 5:21-cv-07385
           Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 5 of 35


 1                                                     TABLE OF CONTENTS
 2                                                                                                                                              Page
 3   I.       INTRODUCTION ................................................................................................... 1
 4   II.      COMPLAINT’S ALLEGATIONS ......................................................................... 3
 5            A.        The Parties and Relevant Individuals. ......................................................... 3
 6            B.        Climate Feedback’s Process. ....................................................................... 4
 7            C.        The Fire Video Claim. ................................................................................. 5
 8            D.        The Alarmism Video Claim. ....................................................................... 6
 9            E.        Plaintiff Does Not Demand A Correction, Despite Notice. ........................ 9
10            F.        The Identified Statements.......................................................................... 10
11   III.     LEGAL STANDARD ........................................................................................... 10
12   IV.      ARGUMENT ........................................................................................................ 11
13            A.        The Anti-SLAPP Statute Applies to Plaintiff’s Complaint. ...................... 11
14            B.        Plaintiff Cannot Show a Probability of Prevailing on His Claims. ........... 12
15                      1.         The Statements At Issue Are Not Actionable. .............................. 13
16                      2.         The Identified Statements Are Not “Of and Concerning” Plaintiff.
                                   ....................................................................................................... 18
17
                        3.         Plaintiff Does Not Allege Libel Per Se, or Plead Special Damages.
18                                 ....................................................................................................... 20
19                      4.         The Complaint Should Be Stricken Because Plaintiff’s Claim Is
                                   Barred By The Correction Statute. ................................................ 21
20
                        5.         Plaintiff Fails to Allege Actual Malice. ........................................ 23
21
     V.       CONCLUSION ..................................................................................................... 25
22

23

24

25

26

27

28

                                                                           i
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
         Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 6 of 35


 1                                                   TABLE OF AUTHORITIES
 2                                                                                                                                     Page(s)
     Cases
 3
     Anderson v. Hearst Publ’g Co.,
 4
        120 F. Supp. 850 (S.D. Cal. 1954) .......................................................................................... 21
 5
     Annette F. v. Sharon S.,
 6      119 Cal. App. 4th 1146 (2004) ................................................................................................ 12

 7   Anschutz Ent. Grp., Inc. v. Snepp,
        171 Cal. App. 4th 598 (2009) ............................................................................................ 21, 23
 8
     Ashcroft v. Iqbal,
 9
        556 U.S. 662 (2009) ................................................................................................................ 11
10
     Barrett v. Rosenthal,
11      40 Cal. 4th 33 (2006)............................................................................................................... 12

12   Blatty v. N.Y. Times Co.,
        42 Cal. 3d 1033 (1986) ...................................................................................................... 18, 20
13
     Braun v. Chronicle Publ’g Co.,
14      52 Cal. App. 4th 1036 (1997) .................................................................................................. 11
15
     Cnty. Of Tuolumne v. Sonora Cmty. Hosp.,
16      1 F. App’x 653 (9th Cir. 2001)................................................................................................ 15

17   Cochran v. NYP Holdings, Inc.,
        58 F. Supp. 2d 1113 (C.D. Cal. 1998), aff’d, 210 F.3d 1036 (9th Cir. 2000) ................... 15, 16
18
     ComputerXpress, Inc. v. Jackson,
19     93 Cal. App. 4th 993 (2001) .................................................................................................... 12
20   Downing v. Abercrombie & Fitch,
21     265 F.3d 994 (9th Cir. 2001) ................................................................................................... 21

22   Freedom Newsapers, Inc.. v. Super. Ct.,
        4 Cal. 4th 652 (1992)............................................................................................................... 22
23
     Gang v. Hughes,
24      111 F. Supp. 27 (C.D. Cal. 1953) ............................................................................................ 13
25   GOLO, LLC v. Higher Health Network,
26     LLC, No. 3:18-cv-2434, 2019 WL 446251 (S.D. Cal. Feb. 5, 2019) ..................................... 21

27   Gregory v. McDonnell Douglas Corp.,
        17 Cal. 3d 596 ......................................................................................................................... 17
28

                                                                          ii
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
         Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 7 of 35


     Herring Networks, Inc. v. Maddow,
 1
        445 F. Supp. 3d 1042 (S.D. Cal. 2020), aff’d, 8 F.4th 1148 (9th Cir. 2021) .......................... 14
 2
     Heuer v. Kee,
 3      15 Cal. App. 2d 710 (1936) ..................................................................................................... 17

 4   Hilton v. Hallmark Cards,
         599 F.3d 894 (9th Cir. 2010) ................................................................................................... 11
 5
     Huntingdon Life Scis., Inc. v. Stop Huntingdon Animal Cruelty USA, Inc.,
 6      129 Cal. App. 4th 1228 (2005) ................................................................................................ 12
 7
     John Doe 2 v. Super. Ct.,
 8      1 Cal. App. 5th 1300 (2016) .................................................................................................... 18

 9   Kieu Hoang v. Phong Minh Tran,
        60 Cal. App. 5th 513 (2021) .................................................................................................... 23
10
     Knievel v. ESPN,
11      393 F.3d 1068 (9th Cir. 2005) ................................................................................................. 13
12   Koch v. Goldway,
13      817 F.2d 507 (9th Cir. 1987) ................................................................................................... 14

14   Maloney v. T3Media, Inc.,
        853 F.3d 1004 (9th Cir. 2017) ................................................................................................. 12
15
     Manzari v. Associated Newspapers Ltd.,
16     830 F.3d 881 (9th Cir. 2016) ................................................................................................... 21
17   Masson v. New Yorker Mag., Inc.,
       501 U.S. 496 (1991) ................................................................................................................ 17
18

19   McGarry v. Univ. of San Diego,
       154 Cal. App. 4th 97 (2007) .............................................................................................. 23, 25
20
     Milkovich v. Lorain Journal Co.,
21      497 U.S. 1 (1990) .................................................................................................................... 14
22   Mindys Cosms., Inc. v. Dakar,
        611 F.3d 590 (9th Cir. 2010) ................................................................................................... 11
23

24   Moldea v. New York Times Co.,
        22 F.3d 310 (D.C. Cir. 1994) (Moldea II) ............................................................................... 15
25
     Moore v. Navarro,
26     No. C 00-03213, 2004 WL 783104 (N.D. Cal. Mar. 31, 2004) ................................................ 4

27   N.Y. Times Co. v. Sullivan,
        376 U.S. 254 (1964) ................................................................................................................ 23
28

                                                                         iii
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
         Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 8 of 35


     Navellier v. Sletten,
 1
        29 Cal. 4th 82 (2002)............................................................................................................... 11
 2
     Newton v. Nat’l Broad. Co.,
 3      930 F.2d 662 (9th Cir. 1990) ................................................................................................... 19

 4   Nygard, Inc. v. Uusi-Kettula,
        159 Cal. App. 4th 1027 (2008) ................................................................................................ 12
 5
     O’Grady v. Superior Court,
 6      139 Cal. App. 4th 1423 (2006) ................................................................................................ 22
 7
     Owens v. Lead Stories, LLC,
 8     No. CV S20C-10-016 CAK, 2021 WL 3076686
       (Del. Super. Ct. July 20, 2021) ................................................................................................ 16
 9
     Palm Springs Tennis Club v. Rangel,
10      73 Cal. App. 4th 1 (1999) ........................................................................................................ 20
11   Partington v. Bugliosi,
        56 F.3d 1147 (9th Cir. 1995) ....................................................................................... 14, 15, 16
12

13   Planned Parenthood Fed’n of Am., Inc. v. Cntr. For Med. Progress,
        890 F.3d 828 (9th Cir. 2018) ................................................................................................... 11
14
     Pollard v. Lyon,
15      91 U.S. 225 (1875) .................................................................................................................. 21
16   Price v. Stossel,
         620 F.3d 992 (9th Cir. 2010) ................................................................................................... 21
17
     Reader’s Dig. Ass’n v. Super. Ct.,
18
        37 Cal. 3d 244 (1984) ........................................................................................................ 23, 24
19
     Resolute Forest Prod., Inc. v. Greenpeace Int’l,
20      302 F. Supp. 3d 1005 (N.D. Cal. 2017) .................................................................................. 24

21   Resolute Forest Prods., Inc. v. Greenpeace Int’l,
        No. 17-CV-02824, 2019 WL 281370 (N.D. Cal. Jan. 22, 2019) ............................................ 12
22
     Shoen v. Shoen,
23
        5 F.3d 1289 (9th Cir. 1993) ..................................................................................................... 22
24
     Sipple v. Found. for Nat’l Progress,
25      71 Cal. App. 4th 226 (1999) .................................................................................................... 23

26   Song fi Inc. v. Google, Inc.,
        108 F. Supp. 3d 876 (N.D. Cal. 2015) .................................................................................... 20
27
     St. Amant v. Thompson,
28       390 U.S. 727 (1968) ................................................................................................................ 25

                                                                         iv
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
         Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 9 of 35


     Standing Comm. on Discipline v. Yagman,
 1
        55 F.3d 1430 (9th Cir. 1995) ................................................................................................... 16
 2
     Taus v. Loftus,
 3      40 Cal. 4th 683 (2007)............................................................................................................. 12

 4   Taylor v. Yee,
        780 F.3d 928 (9th Cir. 2015) ................................................................................................... 11
 5
     Underwager v. Salter,
 6      22 F.3d 730 (7th Cir. 1994) ..................................................................................................... 24
 7
     United States v. Ritchie,
 8      342 F.3d 903 (9th Cir. 2003) ..................................................................................................... 4

 9   Wilson v. Hewlett-Packard Co.,
        668 F.3d 1136 (9th Cir. 2012) ................................................................................................. 11
10
     Wynn v. Chanos,
11     75 F. Supp. 3d 1228 (N.D. Cal. 2014) .................................................................................... 14
12   ZL Techs., Inc. v. Gartner, Inc.,
13      709 F. Supp. 2d 789 (N.D. Cal. 2010), aff’d sub nom. ZL Techs., Inc. v.
        Gartner Grp., Inc., 433 F. App’x 547 (9th Cir. 2011) ............................................................ 14
14
     Statutes
15
     California Civil Code
16      § 45 .................................................................................................................................... 13, 14
        § 45a ........................................................................................................................................ 20
17      § 45a, 48a .................................................................................................................... 20, 21, 22
18      § 48(d)(2)................................................................................................................................. 20
        § 48a ........................................................................................................................................ 22
19      § 48a(d)(5) ............................................................................................................................... 22
        § 425.16 ............................................................................................................................... 2, 23
20      § 425.16(b)(1), (c) ................................................................................................................... 11
        § 425.16(e) .............................................................................................................................. 11
21
        § 425.16(e)(3) .......................................................................................................................... 12
22      § 425.16(e)(3)–(e)(4) ............................................................................................................... 11
        § 425.16(e)(3)-(e)(4) ................................................................................................................. 2
23
     Rules
24
     Federal Rules of Civil Procedure
25      9(g) .......................................................................................................................................... 21
        12(b)(6).................................................................................................................................... 11
26

27

28

                                                                              v
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
        Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 10 of 35


     Other Authorities
 1
     Responding to Stossel TV video on our rating process, Climate Feedback,
 2
        https://climatefeedback.org/responding-to-stossel-tv-video-on-our-rating-
 3      process/ (last visited Jan. 27, 2022)........................................................................................... 9

 4   Restatement (Second) of Torts § 566 (Am. L. Inst. Oct. 2021 update) ........................................ 16

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                      vi
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
         Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 11 of 35


 1                                       I.      INTRODUCTION
 2           This case presents an increasingly common scenario that the California anti-SLAPP
 3   statute squarely addresses: a peddler of sensationalist news content on the internet seeks to
 4   punish a nonprofit, scientific fact-checking organization and its volunteer scientists for critiquing
 5   his posts. As social media platforms and fact-checking organizations attempt to address the
 6   growing problem of viral misinformation online, it is vital that the legal system safeguard robust
 7   and open debate on scientific issues, including, critically, scientifically-sound fact-checks like
 8   those at issue here. Plaintiff’s efforts to silence Science Feedback’s accurate and
 9   constitutionally-protected free speech should be swiftly and resoundingly rejected.
10           Plaintiff, who frequently posts controversial videos on social media,3 brings a single
11   count of defamation against Science Feedback, a French nonprofit organization, because two
12   videos he posted to his Facebook account were flagged by Facebook’s fact-checking process.
13   These videos—which featured speakers making controversial claims titled “Government Fueled
14   Fires” and “Are We Doomed?”—were not removed from the platform; indeed, Plaintiff’s
15   “speech” remains fully accessible to the public to this day. Rather, they were affixed with
16   Facebook’s labels: “Missing Context” and “Partly False,” respectively. The labels also
17   contained a “See Why” button that brought the viewer to scientific review articles (hereinafter,
18   the “Articles”) hosted on a different website, climatefeedback.org (hereinafter, “Climate
19   Feedback”).4 These Articles described scientific facts that called into question the claims
20   featured within Plaintiff’s videos, and scientists’ opinions on those claims.
21           Critically, Plaintiff does not deny the truthfulness of the Articles; indeed, he admits the
22   scientific conclusions therein are true. Compl. ¶ 52 (saying his conclusions and those in the
23   Articles “vary only by degree”). Instead, Plaintiff apparently takes issue with being affiliated
24
     3
       See, e.g., Ex. 3 (screenshot of Plaintiff’s recent Facebook posts, which are incorporated by
25   reference into the Complaint).
26
     4
       Plaintiff has erroneously sued Science Feedback as “Science Feedback and Climate Feedback.”
     Climate Feedback is not a separate legal entity, but rather a website run by Science Feedback.
27   Facebook (now Meta) contracts with SciVerify, a company registered in France, which is wholly
     owned by Science Feedback. SciVerify exercises no control over the editorial content on the
28   website Climate Feedback, and Science Feedback has no direct business relationship with
     Facebook.
                                                       1
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 12 of 35


 1   with the controversial and misleading claims—the very claims he gave airtime to and shared
 2   with over one million followers. Compl. ¶ 23.
 3          Plaintiff’s claim against Science Feedback arises from these Articles, which are protected
 4   under California’s anti-SLAPP statute. Cal. Civ. Code § 425.16. Because the lawsuit targets the
 5   exercise of free speech in a public forum involving matters of indisputable public concern and
 6   public interest—namely, climate change—Plaintiff must show a reasonable probability of
 7   prevailing on the merits of his claim. Cal. Civ. Code § 425.16(e)(3)-(e)(4). He cannot do so.
 8          First, Plaintiff fails to state a claim for defamation against Science Feedback because the
 9   identified statements are nonactionable. Calling a video “misleading” or “missing context” does
10   not rise to the level of defamation, especially where, as here, the individual posting the video is
11   already known for his controversial social media posts. In addition, the statements are not false
12   assertions of fact. The articles expressly state that the conclusions are based on third-party
13   expert viewpoints, and provide full context for the editor’s evaluation, including by citing to data
14   and studies. The legal doctrine of “opinion based on disclosed facts” exists to protect these
15   kinds of informed viewpoints. Finally, because Plaintiff concedes, as he must, that the scientific
16   conclusions in the article are accurate, he cannot meet his burden of demonstrating that the “gist”
17   of the statements at issue are materially false. Mem. Section IV.B.1. Second, the Articles’
18   statements identified in the Complaint are not “of and concerning” Plaintiff; rather, they concern
19   the veracity of the claims his interviewees make in the videos. Mem. Section IV.B.2. Third,
20   because Plaintiff does not allege defamation per se, nor appropriately comply with California’s
21   correction statute, he must allege and prove that he suffered special damages as a direct result of
22   the challenged statements, which his generalized allegations fail to do. Mem. Sections IV.B.3-4.
23   Finally, Plaintiff, as a self-described public figure with access to the media, must allege that
24   when Science Feedback published the challenged statements about him, it acted with “clear and
25   convincing” evidence of “actual malice,” which he fails to do. Mem. Section IV.B.5.
26

27

28

                                                       2
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
         Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 13 of 35


 1           For these reasons, Science Feedback respectfully asks that the Court dismiss this lawsuit
 2   with prejudice.5
 3                             II.     COMPLAINT’S ALLEGATIONS6
 4   A.      The Parties and Relevant Individuals.
 5           Plaintiff “publishes short weekly news videos on social media,” including on Facebook,
 6   “where he has over one million followers.” Compl. ¶ 23. Plaintiff has a history of posting
 7   videos on controversial topics. See Compl. n.5, n.9 (citing Plaintiff’s Facebook page); Burke
 8   Decl. Ex. 3 (screenshot of Plaintiff’s Facebook page, which contains videos reporting on Critical
 9   Race Theory in American Schools, toxic victimhood, vaccine mandates, trans women in sports,
10   among others).7
11           Defendant Science Feedback is a French not-for-profit organization that verifies the
12   credibility of influential claims online that purport to be scientific. Compl. ¶¶ 27-36.8 Science
13   Feedback’s mission is to improve the credibility of science-related information online and on
14   social media. Id. Science Feedback runs a website specifically regarding climate science
15   entitled Climate Feedback. Compl. ¶ 25 (Climate Feedback is not a separate legal entity, it is
16   merely a website); Dkt. 43 (Defendant’s Corporate Disclosure Statement).
17           Meta Platforms, Inc. (“Meta”)9 operates Facebook, a social networking platform
18   (hereinafter, “Facebook”). Compl. ¶ 23-24. Meta contracts with third parties, such as Science
19   Feedback’s wholly-owned subsidiary SciVerify, to fact-check certain content posted by users on
20   its site. Compl. ¶¶ 107-08. Based on the fact-checkers’ review of certain posts and
21   recommendations regarding the appropriate label, Facebook publishes these public-facing labels
22   to the content on its platform. Compl. ¶¶ 33-36. The available labels in Meta’s rating system
23

24
     5
       Science Feedback intends to separately move for attorneys’ fees, as provided for under the
25   California anti-SLAPP statute.
     6
26     Science Feedback assumes the truth of the allegations in the Complaint for the purposes of this
     motion only.
     7
27     Accord, infra, note 10.
     8
       Science Feedback has a subsidiary, SciVerify, that engages in contracts and paid partnerships
28   with social media companies to review information published on their platforms for credibility.
     9
       See Meta Platforms, Inc. Mot. to Dismiss, Dkt. 27.
                                                      3
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
          Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 14 of 35


 1   consist of the following: False, Altered, Partly False, Missing Context, Satire, and True. Compl.
 2   ¶¶ 33-36, n.4; Burke Decl. Ex. 4.
 3   B.       Climate Feedback’s Process.
 4            As part of its fact-checking procedure, Climate Feedback editors select certain broad
 5   claims that are gaining traction on social media and subsequently turn to their network of outside
 6   experts and scientists in the field of climate science. See Burke Decl. Ex. 6.10 These outside
 7   experts are invited to review and comment on the article “to indicate whether the facts
 8   underlying the reasoning are consistent with up-to-date scientific knowledge.” Id. These
 9   scientists then provide an overall credibility rating. Id. After the review is complete, a Climate
10   Feedback editor summarizes the findings and publishes the findings in an article on the Climate
11   Feedback website. Id.
12            It is important to note that these articles are not custom-made for every individual post
13   generated on social media, but rather, an article is published in response to a claim that is broadly
14   appearing on the internet in various forms. The published articles are then used as source
15   material to determine whether particular posts containing certain claims are credible. Compl. ¶
16   69, n.8 (citing to Climate Feedback’s response, which states in part: “This is a misunderstanding
17   of how fact-checking partners operate on Facebook. Given that many pieces of content posted on
18   Facebook can separately make the same claim, it is not necessary to create a separate claim
19   review article for each post we rate. It is, of course, necessary that the claim we reviewed is
20   representative of the claim in each post we rate, which is true in this case.”); Burke Decl. Ex. 5.
21

22

23
     10
       The Court evaluates the pleadings and may consider documents to which the complaint refers
24   extensively or that form the basis of the plaintiff’s claim. United States v. Ritchie, 342 F.3d 903,
     907-08 (9th Cir. 2003); see also Moore v. Navarro, No. C 00-03213, 2004 WL 783104, at *2
25   (N.D. Cal. Mar. 31, 2004) (Chesney, J.) (“Documents whose contents are alleged in the
26   complaint, and whose authenticity no party questions, but which are not physically attached to
     the pleading, also may be considered.”). Here, Plaintiff refers extensively to Climate Feedback’s
27   website and cites the statements on the website as being allegedly defamatory. See Compl. ¶ 47,
     n.6; ¶ 69, n.8; ¶ 74; ¶ 85, n.10; ¶¶ 87 –88. As a result, Climate Feedback’s website is
28   incorporated by reference in the Complaint and the Court may consider it in deciding this
     motion.
                                                       4
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 15 of 35


 1   C.      The Fire Video Claim.
 2           On September 22, 2020, in response to the wildfires that were raging in California,
 3   Plaintiff published a video on his Facebook page entitled “Government Fueled Fires,” which is
 4   referred to as the “Fire Video” in the Complaint. Compl. ¶ 37, n.5. As part of this video,
 5   Plaintiff interviewed an individual, Michael Shellenberger, whom Plaintiff introduced as an
 6   “environmentalist.” See Ex. 8 at 1 (transcript of Fire Video). In the Fire Video, Mr.
 7   Shellenberger advanced the theory that “while climate change undoubtedly contributes to forest
 8   fires, it was not the primary cause of the 2020 California fires.” Comp. ¶¶ 42-43. Plaintiff
 9   narrated: “[Michael Shellenberger] says it’s silly to blame the fires on climate change,” and later
10   stated, “If not climate change, what is to blame? Foolish policies.” See Ex. 8 at 1. “California
11   has warmed three degrees over 50 years, but—” Plaintiff says in the Fire Video, followed by a
12   clip of Mr. Shellenberger stating, “You could have had this warming and not had these fires.”
13   See id. at 2 (emphasis added). Plaintiff concludes the Fire Video by stating: “Bad policies were
14   the biggest cause of this year’s fires, not the slightly warmer climate.” See id. at 3.
15           On September 9, 2020, two weeks before Plaintiff posted his Fire Video, Climate
16   Feedback published its findings about the already-viral claim that “Forest fires are caused by
17   poor management. Not by climate change.” Compl. ¶ 47, n.6; Burke Decl. Ex. 1 (hereinafter,
18   “Fire Article”). In the Fire Article, Climate Feedback published its verdict that this claim was
19   “Misleading.” Id. Climate Feedback then provided further explanation that this claim
20   “misrepresents a complex reality” because the “causes and behaviors of wildfires in the western
21   US are influenced by a variety of factors, including weather conditions, climate change, past fire
22   suppression practices, and an increase in the number of people living near wildlands.” Id.
23   Climate Feedback also wrote: “Scientific studies demonstrate clear links between climate
24   change, hotter and drier conditions, and an increase in dry vegetative fuel load, drastically
25   increasing the amount of forest fire area in the western US.” Id.
26           The Fire Article then continues on to provide citations to scientific data underlying its
27   statements and comments from three different scientists who all evaluated the claim. Those
28   scientists relied on scientific literature including:

                                                         5
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 16 of 35


            •   Abatzoglou, et al., Impact of anthropogenic climate change on wildfire across
 1
                western US forests, Proceedings of the National Academy of Sciences of the United
 2              States of America (“PNAS”) (2016);
            •   Intergovernmental Panel on Climate Change (“IPCC”), Climate Change 2014:
 3              Summary for Policymakers, Contribution of Working Groups I, II and III to the Fifth
                Assessment Report of the Intergovernmental Panel on Climate Change (2014);
 4          •   National Academies of Sciences, Engineering, and Medicine, Attribution of extreme
 5              whether events in the context of climate change, The National Academies Press
                (2016);
 6          •   Noah S. Diffenbaugh, Verification of extreme event attribution: Using out-of-sample
                observation to assess changes in probabilities of unprecedented events, Science
 7              Advances (2020);
 8          •   Swain, et al., Attributing extreme events to climate change: A new frontier in a
                warming world, One Earth (2020);
 9          •   Dong, et al., Mechanisms for an amplified precipitation seasonal cycle in the U.S.
                west coast under global warming, Journal of Climate (2019);
10          •   Westerling, Increasing western US forest wildfire activity: sensitivity to changes in
                the timing of spring, Philosophical Transactions of the Royal Society B (2016);
11
            •   Jolly, et al., Climate-induced variations in global wildfire danger from 1979 to 2013,
12              Nature Communications (2015);
            •   Goss, et al., Climate change is increasing the risk of extreme autumn wildfire
13              conditions across California, Environmental Research Letters (2020).
14          Plaintiff’s later posting of the Fire Video triggered Facebook’s fact-checking procedure

15   as the video became viral. An editor of Science Feedback watched the video and identified that

16   it contained a claim equivalent to the one reviewed in the Fire Article. Science Feedback’s

17   editor flagged the post using the appropriate label from Facebook’s rating system: “Missing

18   context,” which is defined within Facebook’s rating system as, e.g., “Content that presents a

19   conclusion not supported by the underlying facts,” or “Claims stated as fact that are plausible but

20   unproven.” Burke Decl. Ex. 4. Facebook consequently placed a label on Plaintiff’s Fire Video,

21   stating, “Missing Context. Independent fact-checkers say this information could mislead people,”

22   with a link to the Climate Feedback previously-published Fire Article. Compl. ¶¶ 45–46.

23   D.     The Alarmism Video Claim.

24          On April 17, 2021, Plaintiff posted another video on his Facebook page entitled “Are we

25   doomed?” which the Complaint refers to as the “Alarmism Video.” Compl. ¶ 78, n.9. In his

26   post, Plaintiff wrote, “In order to get you ready for other scary ‘facts’ you will hear on

27   #EarthDay, 3 scientists address some climate myths.” See Ex. 10 (screenshot of Alarmism

28

                                                       6
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 17 of 35


 1   Video post). In the Alarmism Video, Plaintiff says, “Climate alarmists never agree to debate . . .
 2   I invited Al Gore on my show often but he would never come.” See Ex. 9 at 2.
 3            This video also triggered Facebook’s fact-checking procedure. As a result, on April 21,
 4   2021, Climate Feedback published an article on its website entitled “Video promoted by John
 5   Stossel for Earth Day relies on incorrect and misleading claims about climate change” in which it
 6   analyzed the video (hereinafter, “Alarmism Article,” together with the Fire Article, the
 7   “Articles”). Compl. ¶ 85, n.10; Burke Decl. Ex. 2.
 8            In the Alarmism Article, seven scientists evaluated the credibility of the Alarmism Video
 9   and rated the scientific credibility as “very low” with a majority of reviewers tagging the article
10   as “flawed reasoning,” “inaccurate,” and “misleading.” Id. The Article states the Alarmism
11   Video “comments on statements made about climate change by environmental activists and
12   politicians that can be misleading. However, speakers in the video rely on several inaccurate
13   claims and use imprecise language that misleads viewers about the scientific understanding of
14   climate change, according to scientists who reviewed the video.” Id. Some of the examples of
15   debunked claims include the following statements made by individuals featured in Plaintiff’s
16   video:
                 “[T]he claim that sea levels have been rising for 20,000 years [and probably will
17               continue], made by David Legates, a Professor and former assistant secretary of
18               commerce for NOAA nominated by the Trump administration, is imprecise and
                 misleading, as it implies sea levels have continued rising since then and current
19               sea level rise is just a continuation of past natural fluctuations. But the causes of
                 the global warming event that explains sea level rise at the end of the last ice age
20               20,000 years ago are different from those that explain sea level rise now. . . .
21
                 In the video, Patrick Michaels, a former professor of environmental sciences at
22               the University of Virginia, claims that “hurricanes and other storms” are not
                 “getting worse” and that “there is no relationship between hurricane activity and
23               the surface temperature of the planet”. But what does science tell us about how
                 global warming might affect hurricanes? Research shows that climate scientists
24               don’t necessarily expect an increase in the frequency of all hurricanes with global
                 warming, but instead an increase in hurricane risk. Specifically, scientists expect
25
                 that “sea level rise accompanying the warming will lead to higher storm
26               inundation levels” and that the global proportion of hurricanes that reach very
                 intense (category 4–5) levels will increase . . . . Scientists also expect increased
27               precipitation rates in hurricanes.”
28            Id. (emphasis added).

                                                       7
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 18 of 35


 1          The Article also addresses other claims. In the Alarmism Video, the claim is made that
 2   carbon dioxide “helps feed the world.” See Ex. 9 at 3. This claim is addressed in the Article by,
 3   inter alia, Professor G. Philip Robertson at Michigan State University, who explains that any
 4   historic positive effect of carbon dioxide on crop growth is generally considered to be “a
 5   fraction” of other historic causes like genetics, nitrogen, and other inputs, and any positive effect
 6   on crop growth “will almost certainly be offset by yield declines associated with the temperature
 7   increases caused by elevated CO2, which are well known.” Id. (quoting Professor Philip
 8   Robertson).
 9          The Article includes a summary and commentary from seven scientists with citations to
10   the scientific data they relied on in their assessment. Id. Examples of citations include:
11          •   Lambeck, et al. Sea level and global ice volumes from the Last Glacial Maximum to
                the Holocene, PNAS (2014);
12          •   Knutson, et al., Tropical Cyclones and Climate Change Assessment: Part II:
                Projected Response to Anthropogenic Warming, Bulletin of the American
13
                Meteorological Society (2020);
14          •   Kossin, et al., Global increase in major tropical cyclone exceedance probability over
                the past four decades, PNAS (2020);
15          •   Liu, et al., Causes of large projected increases in hurricane precipitation rates with
                global warming, npj Climate and Atmospheric Science (2019);
16
            •   Moore, et al., New science of climate change impacts on agriculture implies higher
17              social cost of carbon, Nature (2017);
            •   Terrier, et al., Nitrogen and phosphorus constrain the CO2 fertilization of global
18              plant biomass, Nature Climate Change (2019);
            •   Shukla, et al., Technical Summary, 2019 in Climate Change and Land: an IPCC
19              special report on climate change, desertification, land degradation, sustainable land
20              management, food security, and greenhouse gas fluxes in terrestrial ecosystems,
                IPCC report (2019);
21          •   Oppenheimer, et al., Sea Level Rise and Implications for Low-Lying Islands, Coasts
                and Communities in IPCC Special Report on the Ocean and Cryosphere in a
22              Changing Climate (2019).
23          In the Complaint, Plaintiff himself relies on this same scientific data and facts used to
24   analyze his video. Compl. ¶ 88 (stating Climate Feedback cited to data in the Article and
25   including a chart used by the scientists to evaluate the claims).
26          Evaluating the veracity of both Plaintiff’s claims and the claims made by others in the
27   Alarmism Video, Science Feedback’s editor flagged the Alarmism Video using the appropriate
28   label from Facebook’s rating system, “Partly False,” which is defined within Facebook’s rating

                                                       8
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 19 of 35


 1   system as: “Content [that] has some factual inaccuracies” or “a video that contains many key
 2   claims, some true, some false.” See Ex. 4. Facebook subsequently published a label on
 3   Plaintiff’s video stating “Partly False Information. Checked by independent fact-checkers” with a
 4   link to the Alarmism Article. Compl. ¶ 83.
 5   E.     Plaintiff Does Not Demand A Correction, Despite Notice.
 6          Clearly aware of the labels and articles on Climate Feedback as soon as they were
 7   published, see, e.g., Compl. ¶ 55 (“On September 25, 2020, Mr. Stossel received a notification
 8   from Facebook regarding the Fire Video . . .), Plaintiff nevertheless failed to send a timely
 9   correction demand for either of the challenged Articles. Instead, after Facebook affixed the label
10   to the Fire Video, Plaintiff contacted the Climate Feedback editor and the three scientists who
11   were involved in publishing the Fire Article, asking to interview them. Compl. ¶¶ 59–64.
12   Plaintiff edited interviews with two of these scientists in a misleading manner and published
13   these heavily edited clips in a YouTube video on October 6, 2020. Compl. ¶ 62, n.7. Plaintiff
14   also sent an email to the Fire Article’s editor, again seeking comment; Plaintiff did not speak to
15   the third scientist. Compl. ¶¶ 59–60.
16          In response to Plaintiff’s October 6th video, on October 8, 2020, Climate Feedback
17   posted a response on its website. Compl. ¶ 71 (citing Responding to Stossel TV video on our
18   rating process, Climate Feedback, https://climatefeedback.org/responding-to-stossel-tv-video-
19   on-our-rating-process/ (last visited Jan. 27, 2022)). In its response, Climate Feedback noted that
20   Plaintiff’s video “publicly misrepresents our actions—and seeks to present scientists who
21   contributed to our review as disagreeing with our actions.” Id. Climate Feedback explained that
22   Plaintiff fundamentally misunderstood how the fact-checking process works and that “[i]t is not
23   necessary to create a separate claim review article for each post,” but rather that Climate
24   Feedback had reviewed a “specific formulation of a claim” that was “frequently appearing
25   amidst record-setting wildfires on the US West Coast.” Id. In other words, the Fire Article was
26   not written about Plaintiff’s Fire Video specifically, but about the broader claim regarding the
27   forest fires’ causation, which Plaintiff’s Fire Video subsequently happened to contain.
28

                                                      9
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
          Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 20 of 35


 1            In June 2021, Plaintiff posted a “response video” to the Alarmism Article that displayed
 2   out-of-context clips from an interview with a scientist who had volunteered with Climate
 3   Feedback. Compl. ¶ 92, n.11. (As explained above, Science Feedback’s editors—not the
 4   volunteer scientists—are responsible for flagging content and applying appropriate labels. See
 5   Section II.B, supra.) Plaintiff posted a written response as well. Compl. ¶ 97, n.12. Plaintiff did
 6   not otherwise demand a correction from Science Feedback. Instead, Plaintiff filed this lawsuit
 7   on September 22, 2021. Dkt. 1.
 8   F.       The Identified Statements.
 9            The Complaint identifies the following statements as purportedly defamatory:
10               •   the labeling of the Fire Video as “missing context” and “misleading”, Compl. ¶
11                   112;
12               •   the “implication” that Plaintiff made the claim “forest fires are caused by poor
13                   management[, n]ot by climate change,” Compl. ¶ 116;
14               •   the labeling of the Alarmism Video as “partly false,” Compl. ¶ 113; and
15               •   the statement that the Alarmism Video contained “factual inaccuracies” and was
16                   “partly false”, Compl. ¶ 125.11
17            The only identified statements published on the Climate Feedback webpage are (1) the
18   broad claim that forest fires are not caused by climate change but by poor management is
19   “misleading” and (2) the Alarmism Article states that a majority of its reviewers tagged the
20   Alarmism Video as “Flawed reasoning, Inaccurate, Misleading.” Neither of these statements is
21   actionable, nor can the “Missing Context” and “Partly False” labels give rise to a claim for
22   defamation, for the independent reasons below.
23                                     III.    LEGAL STANDARD
24            The Court should strike Plaintiff’s claims under California’s anti-SLAPP statute. Federal
25   courts sitting in diversity jurisdiction must apply California’s anti-SLAPP statute to state-law
26   claims, and must follow “the California Legislature’s direction that the anti-SLAPP statute be
27

28   11
       To be precise, the only mention of falsity in the Alarmism Article states: “A majority of
     reviewers tagged the article as: Flawed reasoning, Inaccurate, Misleading.”
                                                       10
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 21 of 35


 1   ‘construed broadly.’” Mindys Cosms., Inc. v. Dakar, 611 F.3d 590, 595 (9th Cir. 2010). See
 2   also Hilton v. Hallmark Cards, 599 F.3d 894, 905 (9th Cir. 2010).
 3          This statute facilitates the quick dismissal of meritless claims that target free speech and
 4   uses a two-step process. Braun v. Chronicle Publ’g Co., 52 Cal. App. 4th 1036, 1042 (1997).
 5   “First, the court decides whether the defendant has made a threshold showing that the challenged
 6   cause of action is one arising from protected activity,” by showing the alleged conduct
 7   “underlying the plaintiff’s cause fits one of the categories spelled out” in California Civil Code
 8   Section 425.16(e). Navellier v. Sletten, 29 Cal. 4th 82, 88 (2002). It “must then determine
 9   whether the plaintiff has demonstrated a probability of prevailing.” Id. In federal court, where
10   no discovery has occurred, this test requires the plaintiff to satisfy the pleading standards under
11   Rule 12(b)(6). Planned Parenthood Fed’n of Am., Inc. v. Cntr. For Med. Progress, 890 F.3d
12   828, 834 (9th Cir. 2018). If the plaintiff does not, the Court must strike the claim and award
13   attorneys’ fees. Id.; Cal. Civ. Code § 425.16(b)(1), (c).
14          Dismissal under Rule 12(b)(6) is proper when the complaint “fail[s] to state a claim upon
15   which relief can be granted”—in other words, if it lacks a cognizable legal theory or does not
16   include sufficient facts to support a plausible claim. See Taylor v. Yee, 780 F.3d 928, 935 (9th
17   Cir. 2015). “A claim has facial plausibility when the plaintiff pleads factual content that allows
18   the court to draw the reasonable inference that the defendant is liable for the misconduct
19   alleged.” Wilson v. Hewlett-Packard Co., 668 F.3d 1136, 1140 (9th Cir. 2012) (quoting Ashcroft
20   v. Iqbal, 556 U.S. 662, 678 (2009)). This is a “context-specific task that requires the reviewing
21   court to draw on its judicial experience and common sense” and look for “more than the mere
22   possibility of misconduct.” Iqbal, 556 U.S. at 679.
23                                          IV.     ARGUMENT
24   A.     The Anti-SLAPP Statute Applies to Plaintiff’s Complaint.
25          California’s anti-SLAPP statute applies here. The anti-SLAPP statute applies to
26   statements made “in a place open to the public or a public forum in connection with an issue of
27   public interest” and “any other conduct in furtherance of the exercise of . . . the constitutional
28   right of free speech in connection with a public issue or an issue of public interest.” Cal. Civ.

                                                      11
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 22 of 35


 1   Code § 425.16(e)(3)–(e)(4). The Complaint’s defamation claim against Science Feedback arises
 2   from Science Feedback’s (and others’) free speech made in a “public forum”—
 3   climatefeedback.org’s website and on Facebook.com—concerning an “issue of public interest,”
 4   namely, climate change.
 5          Courts interpret “public issue” and “public interest” broadly to include “any issue in
 6   which the public is interested.” Nygard, Inc. v. Uusi-Kettula, 159 Cal. App. 4th 1027, 1042
 7   (2008). “Commenting on a matter of public concern is a classic form of speech that lies at the
 8   heart of the First Amendment.” Huntingdon Life Scis., Inc. v. Stop Huntingdon Animal Cruelty
 9   USA, Inc., 129 Cal. App. 4th 1228, 1246 (2005) (quoting Annette F. v. Sharon S., 119 Cal. App.
10   4th 1146, 1162 (2004)). As this court has already recognized, climate change and environmental
11   issues are at the heart of public debate and controversy, and as such, are issues of undisputed
12   public concern. See Resolute Forest Prods., Inc. v. Greenpeace Int'l, No. 17-CV-02824, 2019
13   WL 281370, at *18 (N.D. Cal. Jan. 22, 2019) (environmental sustainability is an important
14   public matter).
15          Public-facing websites, like Facebook’s global platform and climatefeedback.org, are
16   public forums triggering protection under subsection (e)(3) of the anti-SLAPP statute. See
17   Maloney v. T3Media, Inc., 853 F.3d 1004, 1009, n.3 (9th Cir. 2017) (posting photographs to a
18   website accessible to the public is a public forum for purposes of the anti-SLAPP statute);
19   ComputerXpress, Inc. v. Jackson, 93 Cal. App. 4th 993, 1007–08 (2001) (a site where “members
20   of the public may read the reviews and information posted, and post on the site their own
21   opinions” is a public forum); Nygard, 159 Cal. App. 4th at 1039 (“Web sites accessible to the
22   public . . . are ‘public forums’ for purposes of the anti-SLAPP statute.”) (quoting Barrett v.
23   Rosenthal, 40 Cal. 4th 33, 41 n.4 (2006)).
24   B.     Plaintiff Cannot Show a Probability of Prevailing on His Claims.
25          Plaintiff fails to state a claim for defamation. As a result, he does not show a probability
26   of prevailing on his defamation claim against Science Feedback and his Complaint must be
27   dismissed. Specifically, Plaintiff must demonstrate that his claims are “supported by a prima
28   facie showing of facts to sustain a favorable judgment if the evidence submitted by the plaintiff

                                                      12
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 23 of 35


 1   is credited.” Taus v. Loftus, 40 Cal. 4th 683, 713–14 (2007) (citations omitted). For each of the
 2   independent reasons stated below, Plaintiff cannot meet his burden of pleading a probability of
 3   prevailing against Science Feedback.
 4          1.      The Statements At Issue Are Not Actionable.
 5          Plaintiff’s Complaint fails to satisfy the most basic component of a libel claim: they are
 6   not materially false statements of fact. Plaintiff’s complaint identifies only two allegedly
 7   defamatory statements attributable to Climate Feedback: (1) that it is “misleading,” as a general
 8   matter, to claim that forest fires are not caused by climate change but by poor forest management
 9   by the government; and (2) that a majority of Climate Feedback’s scientist reviewers tagged the
10   Alarmism Video as “Flawed reasoning, Inaccurate, Misleading.”
11          The context of these statements—which must be considered in determining
12   actionability—clearly demonstrate to the reasonable reader that Science Feedback’s editor and
13   volunteer scientists were issuing their opinions based on disclosed facts. Moreover, to the extent
14   the Science Feedback articles contain any facts, those are not materially false. Plaintiff concedes
15   as much in attempting to distance himself from the statements made by his interviewees. Compl.
16   ¶¶ 118-119 (“Stossel did not make the claim . . . his Fire Video expressly acknowledged that
17   climate change was one cause of forest fires.”).
18                  a.      The Statements Are Not Capable Of A Defamatory Meaning
19          To be actionable, a statement must be false and must also “disgrace and degrade” a
20   person, causing him “to be shunned and avoided.” Gang v. Hughes, 111 F. Supp. 27, 29 (C.D.
21   Cal. 1953); see also Cal. Civ. Code § 45 (under California libel law, in order to be defamatory, a
22   statement must “expose a person to hatred, contempt, ridicule, or obloquy,” “cause him to be
23   shunned or avoided,” or “injure him in his occupation”). If a statement is not “capable of a
24   defamatory meaning,” the libel claim is subject to early dismissal. Knievel v. ESPN, 393 F.3d
25   1068, 1074 (9th Cir. 2005).
26          Merely stating a video posted to social media is “misleading” or “missing context” is not
27   reasonably capable of a defamatory meaning. Plaintiff cannot show that the “missing context” or
28   “partly false” labels—as opposed to the underlying videos themselves—have caused any damage

                                                        13
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
          Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 24 of 35


 1   to his reputation, let alone the “hatred, contempt, ridicule, or obloquy” he is required to show
 2   under California law. Cal. Civ. Code § 45. Evidence-based evaluations that his videos are
 3   “missing context” or “partly false” clearly cannot support a claim for defamation, particularly in
 4   light of Plaintiff’s pre-existing notoriety for posting controversial subject matter. See, e.g., Ex. 3
 5   (Plaintiff’s Facebook page posts, including posts on trans women in sports, race-based
 6   admissions, among others).
 7                   b.      Criticism Based On Disclosed Facts Is Nonactionable
 8            Plaintiff’s claims fail because all the statements he identifies are scientific viewpoints
 9   based on disclosed data. “[W]hen an author outlines the facts available to him, thus making it
10   clear that the challenged statements represent his own interpretation of those facts and leaving
11   the reader free to draw his own conclusions, those statements are generally protected by the First
12   Amendment.” Partington v. Bugliosi, 56 F.3d 1147, 1156-57 (9th Cir. 1995); see also Wynn v.
13   Chanos, 75 F. Supp. 3d 1228, 1237-38 (N.D. Cal. 2014) (suggestion that plaintiff acted
14   unlawfully protected because defendant disclosed the basis for his opinion); ZL Techs., Inc. v.
15   Gartner, Inc., 709 F. Supp. 2d 789, 795 (N.D. Cal. 2010) (“An expression of pure opinion is
16   protected by the First Amendment and may not form the basis for a civil lawsuit.”), aff’d sub
17   nom. ZL Techs., Inc. v. Gartner Grp., Inc., 433 F. App’x 547 (9th Cir. 2011). These
18   interpretations of disclosed data are protected speech.
19            In evaluating whether a statement is protected criticism or “opinion,”12 courts consider
20   the “‘totality of the circumstances’ in which the statement was made,” including “the general
21   tenor of the entire work, . . . the extent of figurative or hyperbolic language used,” and whether
22   the statement is “susceptible of being proved true or false.” Herring Networks, Inc. v. Maddow,
23   445 F. Supp. 3d 1042, 1049 (S.D. Cal. 2020), aff’d, 8 F.4th 1148 (9th Cir. 2021). See also
24   Milkovich v. Lorain Journal Co., 497 U.S. 1, 24 (1990). Context is key. Koch v. Goldway, 817
25   F.2d 507, 509 (9th Cir. 1987) (“Context can be determinative that a statement is opinion and not
26   12
        “Opinion” as used herein refers to the legal term of art for statements that, while technically
27   factual, convey personal viewpoints about disclosed facts. Science Feedback emphasizes that the
     statements within its fact-checking Articles are not “opinion” in the colloquial sense; instead, the
28   Articles contain data-informed viewpoints reflecting the broad scientific understanding of the
     topic.
                                                        14
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 25 of 35


 1   fact, for the context of a statement may control whether words were understood in a defamatory
 2   sense.”); Cochran v. NYP Holdings, Inc., 58 F. Supp. 2d 1113, 1123 (C.D. Cal. 1998)
 3   (statements were protected opinion in light of context, where they appeared in a newspaper
 4   opinion column that “create[d] a setting denoting opinion as opposed to fact”), aff’d, 210 F.3d
 5   1036 (9th Cir. 2000).
 6          For instance, in Partington, 56 F.3d at 1154—arising from a book by Vincent Bugliosi
 7   about a murder case—the Ninth Circuit considered claims that Bugliosi painted his opposing
 8   counsel in the trial as incompetent, thereby defaming him. The court disagreed, and held the
 9   statements, though technically factual, were non-actionable opinion. The court noted that “[t]he
10   purpose of the book is to offer the personal viewpoint of the author concerning the trials,” and,
11   “[b]ecause the book outlines Bugliosi’s own version of what took place, a reader would expect
12   him to set forth his personal theories about the facts of the trials and the conduct of those
13   involved in them.” Partington, 56 F.3d at 1153.
14          Similarly, in Moldea v. New York Times Co., 22 F.3d 310 (D.C. Cir. 1994) (Moldea II),
15   the D.C. Circuit held that criticisms of a journalist’s “sloppy journalism” and unprofessional
16   techniques were not actionable because “[r]easonable minds can and do differ as to how to
17   interpret a literary work.” Id. at 316. Partington cited this decision and stated:
18          Authors should have “breathing space” in order to criticize and interpret the
            actions and decisions of those involved in a public controversy. If they are not
19
            granted leeway in interpreting ambiguous events and actions, the public dialogue
20          that is so important to the survival of our democracy will be stifled. We must not
            force writers to confine themselves to dry, factual recitations or to abstract
21          expressions of opinion wholly divorced from real events.
22   Id. at 1159.

23          It is exactly this “breathing space” that Plaintiff seeks to eliminate here, but context

24   makes clear that the Articles—and the Facebook labels—are protected speech. The labels

25   “misleading,” “missing context,” or “partly false” reflect the kind of “feeling[], belief[], and

26   concern[]” that courts repeatedly have found nonactionable. See Cnty. of Tuolumne v. Sonora

27   Cmty. Hosp., 1 F. App’x 653, 654 (9th Cir. 2001) (“People’s feelings, beliefs, and concerns

28   about [doctor’s] competence are non-actionable opinion.”). Whether content is “misleading”

                                                      15
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 26 of 35


 1   involves an evaluation of the likely effect the content will have on the average Facebook user—
 2   namely, whether the average user will be misled into believing false information.
 3           Two weeks before Plaintiff’s Fire Video was published, Science Feedback’s volunteer
 4   scientists, based on truthful and disclosed data, determined that the claim “Forest fires are caused
 5   by poor management. Not by climate change” is “Misleading.” Compl. ¶ 47. It was also their
 6   view that the Alarmism Video was “misleading” because “speakers in the video rely on several
 7   inaccurate claims and use imprecise language that misleads viewers about the scientific
 8   understanding of climate change.” Compl. ¶ 87. Such observations are not false assertions of
 9   fact. See Partington, 56 F.3d at 1153 (“Bugliosi’s observation about Partington’s trial strategies,
10   and the implications that Partington contends arise from them, represent statements of personal
11   viewpoint, not assertion of objective fact.”); see also Owens v. Lead Stories, LLC, No. CV S20C-
12   10-016 CAK, 2021 WL 3076686, at *14 (Del. Super. Ct. July 20, 2021) (finding plaintiff did not
13   adequately allege Facebook fact-checker’s statement that plaintiff’s post was “false” was capable
14   of a defamatory meaning). All statements in the Articles are part and parcel of the scientists’
15   personal reviews of the claims made in Plaintiff’s videos.
16           Moreover, Climate Feedback discloses the facts it relies on and provides copious
17   citations to scientific data and reports. Where, as here, “the factual referent is disclosed, ‘readers
18   will understand they are getting the author’s interpretation of the facts presented,” and the
19   statements are nonactionable. Cochran, 58 F. Supp. 2d at 1123 (citation omitted); see also
20   Standing Comm. on Discipline v. Yagman, 55 F.3d 1430, 1439 (9th Cir. 1995) (“A statement of
21   opinion based on fully disclosed facts can be punished only if the stated facts are themselves
22   false and demeaning. . . . [This is because readers are] unlikely to construe the statement as
23   insinuating the existence of additional, undisclosed facts.”); Restatement (Second) of Torts § 566
24   (Am. L. Inst. Oct. 2021 update) (a statement in the form of an opinion is only actionable if “it
25   implies the allegation of undisclosed defamatory facts as the basis for the opinion”). Readers of
26   Facebook’s labels and Climate Feedback’s Articles are free to form their own thoughts and
27   opinions based on the undisputed scientific facts disclosed by the Articles. See, infra, Sections
28   II.C-D (listing facts and articles cited by the scientists).

                                                        16
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
          Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 27 of 35


 1                   c.      The Statements at Issue are Substantially True.
 2            Plaintiff also does not adequately allege material falsity, another necessary element of a
 3   defamation claim. Gregory v. McDonnell Douglas Corp., 17 Cal. 3d 596, 600(1976). It is well-
 4   established that “so long as ‘the substance, the gist, the sting, of the libelous charge can be
 5   justified,’” there can be no claim for defamation. Masson v. New Yorker Mag., Inc., 501 U.S.
 6   496, 516–17 (1991) (citing Heuer v. Kee, 15 Cal. App. 2d 710, 714 (1936)).
 7            Plaintiff does not argue that any of the statements addressed by the Articles were not
 8   made in the videos or were misquoted. He does not claim that the Articles lied about the
 9   scientists’ conclusions. Nor does he argue that any of the underlying scientific facts cited in the
10   Articles are false (nor can he, for they are taken directly from verified scientific data).13 To the
11   contrary, he alleges that the “conclusions” of Climate Feedback’s Fire Article and his own Fire
12   Video are “substantively identical,” Compl. ¶ 51, and “vary only by degree,” Compl. ¶ 52. He
13   also alleges that the Alarmism Article evaluates his “reasoning” and “overall scientific
14   credibility,” Compl. ¶ 87—clearly protected opinion (see supra Section IV.B.1.a)—but does not
15   identify a single statement of fact within the Articles that is materially false.
16            In an apparent effort to overcome this fatal blow to his suit, Plaintiff misconstrues what
17   Climate Feedback’s Articles actually say. To take one example, Plaintiff alleges that Climate
18   Feedback attributed to him the undisputedly false claim that “climate change doesn’t cause forest
19   fires.” Compl. ¶¶ 48-53. But that misconstrues the Fire Article, which states: “[t]he claim that
20   the forest fires currently burning in the western United States are caused by poor forest
21   management and not climate change appeared in multiple Facebook posts published in
22   September 2020,” and “[w]hile forest management practices, specifically fire suppression, have
23
     13
       See, e.g., Alarmism Article, Annotations and References Sections, rebuking the Alarmism
24   Video’s claim that water has been rising consistently for the last 20 years by providing citations
     and graphs from the “Sea Level Rise and Implications for Low-Lying Islands, Coasts and
25   Communities,” from the Special Report on the Ocean and Cryosphere in a Changing Climate by
26   The Intergovernmental Panel on Climate Change; Fire Article, stating “A 2016 study showed
     that climate change is responsible for over half the increase in fuel aridity (drier fuel load), and
27   has double the cumulative forest area burned” and citing a research article entitled “Impact of
     anthropogenic climate change on wildfire across western US forests” published in the
28   Proceedings of the National Academy of Sciences of the United States of America (“PNAS”);
     Sections II.C-D.
                                                       17
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
          Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 28 of 35


 1   increased the fuel load, scientific evidence also links climate change to hotter and drier
 2   conditions.” Burke Decl. Ex. 1.14 Nowhere does the Article mention Plaintiff, let alone attribute
 3   the false claim to him.15 Critically, Plaintiff does not and cannot dispute that these statements in
 4   the Article are true and accurate.
 5            2.     The Identified Statements Are Not “Of and Concerning” Plaintiff.
 6            Under California law, an actionable statement for defamation must be “of and
 7   concerning” plaintiff. Blatty v. N.Y. Times Co., 42 Cal. 3d 1033, 1042 (1986); see also John Doe
 8   2 v. Super. Ct., 1 Cal. App. 5th 1300, 1312 (2016) (“The [allegedly] defamatory statement must
 9   specifically refer to, or be ‘of and concerning,’ the plaintiff.”). Plaintiff’s Complaint identifies
10   two allegedly defamatory statements attributable to Science Feedback: (1) the false attribution of
11   the claim that “forest fires are caused by poor management. Not to climate change” to Plaintiff
12   in the Fire Article and (2) Climate Feedback’s Alarmism Article states that a majority of its
13   reviewers tagged the Alarmism Video as “Flawed reasoning, Inaccurate, Misleading.” See
14   supra, Section II.F.; Compl. ¶¶ 123-25. Neither of these allegedly defamatory statements,
15   however, specifically concern Plaintiff. In addition, labeling the videos as “misleading” or
16   “partly false” speaks to the veracity of the claims featured within the videos, and not necessarily
17   claims made by Plaintiff himself.
18            As discussed above, the Fire Article was published two weeks before Plaintiff’s Fire
19   Video and nowhere in the Article does it mention Plaintiff’s name or his video. See Section
20   II.C., supra. The Fire Article addressed the general viral claim on the internet that climate
21   change was not a cause of wildfires and analyzed the potential for this claim to be misleading.
22   Burke Decl. Ex. 1. The Fire Article does not attribute these claims to Plaintiff nor make any
23   14
        As pointed out in Meta’s Motion to Dismiss, even if the Fire Article had attributed this claim
24   to Plaintiff —which it did not—the gist of the Fire Article still would have been substantially
     true. See Dkt. 27 at 17 (“Stossel’s video did include a claim by Shellenberger that California’s
25   recent wildfires were caused by forest management. Jennings Decl. Ex. 5, at 3:10-13; 4:3-4
     (‘Stossel: “If not climate change, what is to blame? Foolish policy.” … Shellenberger: “You
26   could have had this amount of warming and not had these fires.”’). Burke Decl. Ex. 8.
     15
        In any event, even if the Article attributed this claim to Plaintiff—which it does not—the gist
27   of the Article would be true. In the Fire Video, Plaintiff clearly conveys that his opinion is that
     the effect of climate change on forest fires is overstated, and that “foolish policies” are to blame
28   instead. See, e.g., Ex. 8 at 3 (Plaintiff narrating: “Bad policies were the biggest cause of this
     year’s fires, not the slightly warmer climate.”).
                                                       18
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 29 of 35


 1   statements about Plaintiff. In any event, the majority of the claims regarding wildfires and
 2   climate change in the Fire Video are made by Plaintiff’s interviewee Mr. Shellenberger, not
 3   Plaintiff. See Newton v. Nat’l Broad. Co., 930 F.2d 662, 683 (9th Cir. 1990) (holding that the
 4   credibility of a journalist's source is a separate inquiry from the credibility of the journalist
 5   himself). Any criticism of the Fire Video would be understood by the reasonable viewer to be a
 6   criticism of Mr. Shellenberger’s claims, and not necessarily Plaintiff’s overall credibility.
 7           In the Alarmism Article, the headline of the Article makes clear that Plaintiff’s video
 8   “relies on incorrect and misleading claims about climate change” (emphasis added), once again
 9   emphasizing that inaccuracies in the video stem primarily from sources in Plaintiff’s video. See
10   Burke Decl. Ex. 2. The Alarmism Article goes on to say that the video contains “statements
11   made about climate change by environmental activists and politicians that can be misleading.
12   However, speakers in the video rely on several inaccurate claims and use imprecise language that
13   misleads viewers about the scientific understanding of climate change.” Id. (emphasis added).
14   Once again, these statements focus on claims made by individuals other than Plaintiff.
15           The Alarmism Article also identifies Plaintiff’s sources and properly attributes false
16   claims when rebutting or critiquing those claims. For instance, the Alarmism Article identifies a
17   statement made by Professor David Legates that sea levels have been rising for 20,000 years and
18   probably will continue, and responds that this is “imprecise and misleading, as it implies sea
19   levels have continued rising since then and current sea level rise is just a continuation of past
20   natural fluctuations.” See id. Similarly, the Alarmism Article mentions statements made by
21   Patrick Michaels, a former professor of environmental sciences at the University of Virginia, that
22   “hurricanes and other storms” are not “getting worse” and that “there is no relationship between
23   hurricane activity and the surface temperature of the planet.” See id. The Alarmism Article
24   labels these statements as misleading because Michaels — not Plaintiff — is “cherry-picking a
25   single measure of hurricane activity and ignoring the broader corpus of scientific research.” Id.
26   These statements—and many others in the Articles—are not “of and concerning” Plaintiff. See
27   Blatty, 42 Cal. 3d at 1044 (“To allow a plaintiff who is not identified, either expressly or by clear
28   implication, to institute such an action poses an unjustifiable threat to society.”).

                                                       19
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
          Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 30 of 35


 1            3.     Plaintiff Does Not Allege Libel Per Se, or Plead Special Damages.
 2            Although he styles his claim as one for “defamation per se,” it is not this type of libel
 3   claim. Because Plaintiff does not adequately plead the necessary facts for defamation per se, he
 4   is limited under California law to special damages. Cal. Civ. Code § 45a, 48a. Special damages
 5   are “damages that plaintiff alleges and proves that he or she has suffered in respect to his or her
 6   property, business, trade, profession, or occupation … and no other.” Cal. Civ. Code § 48(d)(2).
 7   Plaintiff has not pleaded the required special damages here and he cannot.
 8            Under California law, to allege defamation per se, a statement must contain a defamatory
 9   meaning that “appears from the language itself without the necessity of explanation or the
10   pleading of extrinsic facts.” Song fi Inc. v. Google, Inc., 108 F. Supp. 3d 876, 888 (N.D. Cal.
11   2015) (citing Cal. Civ. Code § 45a). Song fi is instructive. There, YouTube removed a video
12   and posted a notice stating that the video “has been removed because its content violated
13   YouTube’s Terms of Service.” Id. at 885. The court found that these allegations did not state a
14   claim for libel per se under California law, and at most, stated a claim for libel per quod. Id. at
15   888. This was because YouTube’s Terms of Service was not a matter of common knowledge
16   and the “average viewer” would not associate the notice with reference to a particular violation
17   of the Terms of Service, namely, pornography. Id. at 888–89. A viewer would have to have
18   “some knowledge of specific facts and/or circumstances, not discernable from the face of the
19   publication,” making it impossible to be libel per se. Id. at 888 (citing Palm Springs Tennis Club
20   v. Rangel, 73 Cal. App. 4th 1, 5 (1999)).
21            Similarly, here, Plaintiff’s allegations require several jumps and leaps to attribute certain
22   statements of his sources to himself and to therefore infer that Climate Feedback is implying he
23   lied in his video. This is not defamation per se. Indeed, Plaintiff ultimately concedes as much in
24   alleging that Defendants “stated by implication” the statements at issue. Compl. ¶ 116 (emphasis
25   added); see also Compl. ¶ 122 (referring to “false implication” of statement at issue).16 As
26   16
        Plaintiff refers to defamation-by-implication but does not adequately allege this type of libel,
27   either. In order to allege defamation-by-implication, plaintiff must allege that the published
     statement must “reasonably be understood as implying the alleged defamatory content.”
28   Manzari v. Associated Newspapers Ltd., 830 F.3d 881, 889 (9th Cir. 2016) (quoting Price v.
     Stossel, 620 F.3d 992, 1003 (9th Cir. 2010)). It is not a reasonable conclusion that sourced
                                                       20
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 31 of 35


 1   Plaintiff has not alleged a claim for defamation per se, plaintiff is limited to special damages.
 2   Cal. Civ. Code § 45a, 48a.
 3          Special damages must be alleged with particularity and proof must be
 4   provided. Anschutz Ent. Grp., Inc. v. Snepp, 171 Cal. App. 4th 598, 643 (2009). Here, Plaintiff
 5   claims he has lost advertising revenue from approximately $10,000 a month to approximately
 6   $5,500 a month. Compl. ¶ 105. Plaintiff, however, does not allege any facts, as he must, tying
 7   this alleged loss to the challenged statements published by Science Feedback. Special damages
 8   must be specific to the actual challenged language. See Anderson v. Hearst Publ’g Co., 120 F.
 9   Supp. 850, 852 (S.D. Cal. 1954) (“When special damage is claimed, the nature of the special loss
10   or injury must be particularly set forth” and include allegations which “set forth precisely in what
11   way the special damage resulted.”) (quoting Pollard v. Lyon, 91 U.S. 225, 237 (1875)); Downing
12   v. Abercrombie & Fitch, 265 F.3d 994, 1010 (9th Cir. 2001) (a plaintiff “must allege and prove
13   that they suffered special damages as a proximate result of the” allegedly libelous statements
14   (emphasis added)); GOLO, LLC v. Higher Health Network, LLC, No. 3:18-cv-2434, 2019 WL
15   446251, at *11 (S.D. Cal. Feb. 5, 2019) (under Fed. R. Civ. P. 9(g), adequate pleading of special
16   damages in libel cases requires facts showing that a business loss “[was] the natural and probable
17   result of” the statement at issue (citation omitted)). Plaintiff’s generalized allegations do not
18   show how any statements in either Article are the proximate cause of a loss to him.
19          4.      The Complaint Should Be Stricken Because Plaintiff’s Claim Is Barred By
20                  The Correction Statute.
21          California’s correction statute imposes a threshold burden on libel plaintiffs: they must
22   serve a request for retraction within twenty days, or else they are limited to special damages.
23   Cal. Civ. Code § 45a, 48a. Indisputably, Plaintiff failed this threshold burden, which provides a
24   second, independent basis for limiting Plaintiff to special damages.
25          It is clear the correction statute applies here. In 2015, the Legislature amended Section
26   48a in response to cases that had narrowly applied the law only to daily newspapers and
27
     quotes provided in a published article or piece of news would be attributed to the journalist who
28   wrote the article. None of the identified statements imply anything about Plaintiff, his
     profession, or his reporting abilities.
                                                      21
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 32 of 35


 1   traditional broadcast media, expanding it to cover any “publication, either in print or electronic
 2   form, that contains news on matters of public concern and that publishes at least once a week.”
 3   Civ. Code § 48a(d)(5); Burke Decl. Ex 7. The legislative history shows that the purpose was to
 4   broaden Section 48a so it does not hinge on the identity of the defendant, but whether it is
 5   “engaged in the immediate dissemination of news.” Burke Decl. Ex. 7.
 6           The Legislature intended to bring Section 48a in line with case law interpreting the
 7   journalist’s Shield Law, specifically O’Grady v. Superior Court, 139 Cal. App. 4th 1423 (2006).
 8   See Burke Decl. Ex. 7, Assembly Judiciary Comm. Analysis at 4. O’Grady rejected the
 9   argument that the Shield Law only protects “legitimate journalism” in “traditional” publications,
10   and applied it to a technology blog based on its conduct, i.e., gathering and disseminating “a
11   particular kind of information to an interested readership.” 139 Cal. App. 4th at 1457–58;
12   accord Shoen v. Shoen, 5 F.3d 1289, 1293 (9th Cir. 1993) (“[w]hat makes journalism . . . is not
13   its format but its content”).
14           As a website, Climate Feedback functions similarly to a technology blog as in O’Grady
15   in that it gathers “a particular kind of information,” namely popular claims on the internet
16   purporting to be legitimate claims about climate change, and disseminates it through articles
17   regularly posted to its website. And, for the purposes of the statute, a website is considered a
18   periodical even if it is not updated at “regular intervals,” but rather, when “individual articles are
19   added as and when they become ready for publication.” O’Grady, 139 Cal. App. 4th at 1465-66.
20           Because the statute applies here, Plaintiff was required to serve a timely “written notice
21   specifying the statements claimed to be libelous and demanding that the same be corrected.”
22   Freedom Newsapers, Inc.. v. Super. Ct., 4 Cal. 4th 652, 659-60 (1992). However, Plaintiff did
23   not send a correction demand to Science Feedback about the Articles within 20 days after
24   knowledge of the publications.
25           Where, as here, Plaintiff failed to comply with the correction statute, and does not
26   adequately plead and prove special damages (see supra Section IV.B.3), as a matter of law, the
27   claims must be stricken under Section 425.16. See Snepp, 171 Cal. App. 4th at 643 (striking
28

                                                       22
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 33 of 35


 1   claims under the SLAPP statute where plaintiff sent inadequate retraction demand and
 2   “presented no proof of special damages”).
 3          5.      Plaintiff Fails to Allege Actual Malice.
 4          Plaintiff also fails to state a claim for defamation for the independent reason that the
 5   Complaint fails to plead facts that would satisfy the “clear and convincing” standard applicable
 6   to any libel action brought by a public figure. N.Y. Times Co. v. Sullivan, 376 U.S. 254, 285
 7   (1964); Sipple v. Found. for Nat’l Progress, 71 Cal. App. 4th 226, 247 (1999); Reader’s Dig.
 8   Ass’n v. Super. Ct., 37 Cal. 3d 244, 256 (1984) (“If the person defamed is a public figure, he
 9   cannot recover unless he proves, by clear and convincing evidence, that the libelous statement
10   was made with ‘actual malice’ — that is, with knowledge that it was false or with reckless
11   disregard of whether it was false or not.” (citation omitted) (quoting Sullivan, 376 U.S. at 279–
12   80); Kieu Hoang v. Phong Minh Tran, 60 Cal. App. 5th 513, 537 (2021) (finding insufficient
13   evidence of actual malice where reporter had no reason to believe source was untrustworthy and
14   where evidence presented by alleged victim of defamation did not show “obvious reasons to
15   doubt the veracity of [the source] or the accuracy of [the] reports.” (quoting Reader’s Digest, 37
16   Cal. 3d at 257)); McGarry v. Univ. of San Diego, 154 Cal. App. 4th 97, 117 (2007) (university
17   football coach, a public figure defamation plaintiff, could not show a likelihood of success on
18   libel claim where he failed to show actual malice by clear and convincing evidence).
19          Plaintiff concedes he is a public figure with ready access to the media. Compl. ¶ 23
20   (“Plaintiff John Stossel is a well-respected, award-winning career journalist and reporter. . . . Mr.
21   Stossel has received nineteen Emmy Awards, five Awards from the National Press Club . . .
22   Currently, he publishes short weekly news videos on social media, primarily on Facebook, where
23   he has over one million followers.”). Thus, he carries the heavy burden of satisfying the “clear
24   and convincing” actual malice standard, which, as a matter of law, he cannot do.
25   Plaintiff’s only allegations with regard to malice are that Science Feedback “knew, or should
26   have known, that Plaintiff’s reporting contained no false facts—only scientific opinion with
27   which Defendants disagreed” and that Defendants published their statements about the Fire
28   Video before even reviewing it. Compl. ¶¶ 122, 130. Plaintiff concedes that this is, at most, a

                                                      23
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 34 of 35


 1   disagreement about “a complex topic of scientific debate.” Compl. ¶ 52. “[T]he academy, and
 2   not the courthouse, is the appropriate place to resolve scientific disagreements of this kind.”
 3   Resolute Forest Prod., Inc. v. Greenpeace Int’l, 302 F. Supp. 3d 1005, 1021 (N.D. Cal. 2017).
 4   Even taking Plaintiff’s allegations as true, his claim fails because “disagree[ing]” on “scientific
 5   opinion” cannot establish actual malice. Compl. ¶¶ 122, 130; see Underwager v. Salter, 22 F.3d
 6   730, 736 (7th Cir. 1994) (cited by Resolute Forest Prod., Inc., 302 F. Supp. 3d at 1021).
 7          Climate Feedback’s meticulous and rigorous process in recommending Facebook’s labels
 8   was anything but reckless. Climate Feedback went through great lengths to painstakingly walk
 9   through its review process in its response article. Burke Decl. Ex 5. That article described that
10   once the Fire Video was flagged by the fact-checking process, Climate Feedback “relied on
11   comments supplied by three scientists” in determining the Fire Video was “Missing Context”
12   because “viewers did not receive an accurate explanation of the scientific research in the role of
13   climate change in US wildfires.” Burke Decl. Ex 5. In other words, Climate Feedback
14   confirmed that the Fire Video contained the very claims that were rigorously analyzed in the
15   earlier-written Fire Article. Similarly, the Alarmism Video was labeled “partly false,” defined as
16   “content that has some factual inaccuracies” or “a video that contains many key claims, some
17   true, some false,” only after seven scientists analyzed the video. Burke Decl. Ex. 2.
18          The absence of actual malice is further demonstrated by the Articles themselves, which
19   cited multiple well-respected scientific sources for their conclusions. Reader’s Digest, 37 Cal.
20   3d at 259 (“A publisher does not have to investigate personally, but may rely on the investigation
21   and conclusions of reputable sources.”). The Alarmism Article cites to the Bulletin of the
22   American Meteorological Society, PNAS articles, the IPCC reports, and others; the Fire Article
23   cites to PNAS, IPCC reports, National Academies Press articles, Scientific Advances articles,
24   and others. See supra Sections II.C-D.
25          For these reasons, Plaintiff fails to adequately plead Science Feedback acted with “actual
26   malice” when it published the two challenged statements at issue. McGarry, 154 Cal. App. 4th
27   at 114 (actual malice standard requires showing by plaintiff of “evidence of actual knowledge of
28   the falsity or reckless disregard for its falsity must be of such character as to command the

                                                      24
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50 Filed 01/31/22 Page 35 of 35


 1   unhesitating assent of every reasonable mind” (citation and question marks omitted)); St. Amant
 2   v. Thompson, 390 U.S. 727, 731 (1968) (“[R]eckless conduct is not measured by whether a
 3   reasonably prudent man would have published, or would have investigated before publishing.
 4   There must be sufficient evidence to permit the conclusion that the defendant in fact entertained
 5   serious doubts as to the truth of his publication.”). Plaintiff cannot remotely satisfy this
 6   constitutional requirement.
 7                                         V.      CONCLUSION
 8          For these reasons, Science Feedback respectfully asks the Court to dismiss Plaintiff’s
 9   lawsuit with prejudice and award Science Feedback its attorneys’ fees and costs under California’s
10   anti-SLAPP statute.
11

12   DATED: January 31, 2022                               DAVIS WRIGHT TREMAINE LLP
                                                           THOMAS R. BURKE
13                                                         SELINA MACLAREN
                                                           ABIGAIL ZEITLIN
14

15
                                                           By: /s/ Thomas R. Burke
16                                                              Thomas R. Burke
                                                           Attorneys for Defendant
17                                                         SCIENCE FEEDBACK
18

19

20

21

22

23

24

25

26

27

28

                                                      25
     MOTION TO DISMISS/ANTI-SLAPP
     Case No. 5:21-cv-07385
